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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                           Chapter 11

        96 Wythe Acquisition LLC                                Case no. 21-22108 (RDD)

                                    Debtor.
--------------------------------------------------------x

                                          NOTICE OF HEARING

               PLEASE TAKE NOTICE, that a telephonic or video hearing will be held on
September 8, 2021 at 10:00 a.m. (the “Hearing”) before the Honorable Robert D. Drain, through
www.court-solutions.com or zoom.gov to consider the annexed application (“Application”) of
the above captioned debtor (the “Debtor”) for the entry of an order under sections 105(a), 345,
and 363(c)(1), of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
authorizing, but not directing, the Debtor perform intercompany transactions postpetition.
                PLEASE TAKE FURTHER NOTICE, that objections, if any, must be in writing,
served upon the undersigned proposed Debtor’s counsel, and filed with the Clerk of the
Bankruptcy Court, with a courtesy copy to the Honorable Robert D. Drain’s chambers, so as to
be received at least seven (7) days before the Hearing date.
Dated: New York, New York
       August 10, 2021
                                                            BACKENROTH FRANKEL & KRINSKY,
                                                            LLP
                                                     By:    s/ Mark Frankel
                                                            800 Third Avenue
                                                            New York, New York 10022
                                                            (212) 593-1100
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                          Chapter 11

          96 Wythe Acquisition LLC                             Case no. 21-22108 (RDD)

                                    Debtor.
--------------------------------------------------------x


                 MOTION TO AUTHORIZE INTERCOMPANY TRANSFERS

                 96 Wythe Acquisition LLC (the “Debtor”), as and for its motion for an order

under sections 105(a), 345, 363(c)(1), and 364(a) of chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”), rules 6003 and 6004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 4001-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”) authorizing continued intercompany transfers

from the Debtor to Williamsburg Hotel BK LLC (the "Management Company"), respectfully

states:

                                               BACKGROUND

                 1.       On February 23, 2021, the Debtor filed a Chapter 11 petition under Title

11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

                 2.       The Debtor owns the Williamsburg Hotel (the “Hotel”) property located at

96 Wythe Avenue, Brooklyn, New York, (the “Property”). The Property is a thirteen story, 160

room hotel with a rooftop pool, a bar and restaurant and a separate, elevated and enclosed bar

that sits above the pool referred to as the Water Tower Bar. The Hotel is managed by

Williamsburg Hotel BK LLC (the "Management Company"), a non-debtor affiliate, under the
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management agreement annexed hereto as Exhibit A ("Management Agreement"). The

Management Company has approximately 80 employees servicing the Hotel.

               3.      On December 13, 2017, the Debtor borrowed $68 million (the “Loan”)

from Benefit Street Operating Partnership, L.P. under a loan agreement (“Loan Agreement”) to

construct the Hotel. The Loan was subsequently assigned to BSPRT 2018-FL3 Issuer, Ltd. (the

“Lender” or the “Mortgagee”).

               4.      Prior to the Petition Date, in the ordinary course of the Debtor’s business,

the Debtor and the Management Company employed a cash management system to implement

the Management Agreement, and collect, transfer and disburse funds generated by the Hotel.

This enabled the Debtor to limit liability on vendor agreements and employee and client related

obligations and claims.

               5.      The Debtor presently maintains DIP accounts at TD Bank, the last four

digits of which are 0935 and 0927 (the "DIP Accounts"). All Debtor/Hotel income is paid into

the DIP Account, the last four digits of which are 0935.

               6.      To pay Management Company creditors for obligations relating to the

Hotel, the Management Company maintains general disbursement accounts at TD Bank, the last

four digits of which are 1596 (the "Disbursement Account"), a payroll account at TD Bank, the

last four digits of which are 1603 (the "Payroll Account"), and a sales tax reserve account at TD

Bank, the last four digits of which are 1611 (the “Sales Tax Reserve Account”).

               7.      In summary, virtually all of the Williamsburg Hotel operations are

performed by the Management Company under the Management Agreement, and the

Management Company's expenses are paid directly out of the Management Company's

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Disbursement Account, Payroll Account, or Sales Tax Reserve account. The Management

Company opened new accounts post-petition dedicated solely to post-petition disbursements.

               8.      To the best of the Debtor's knowledge, TD Bank is insured by the Federal

Deposit Insurance Corporation (the “FDIC”) and, therefore, complies with section 345(b) of the

Bankruptcy Code. To the best of the Debtor's knowledge, TD Bank is also a United States

Trustee authorized bank depository.

                                RELIEF REQUESTED HEREIN

               9.      By this application, the Debtor requests that the Court enter an order

authorizing the Debtor and the Management Company to maintain, service, and administer the

Bank Accounts, without interruption and in the ordinary course of business, in accordance with

the U.S. Trustee Guidelines.

               10.     Section 363(c)(1) of the Bankruptcy Code authorizes a debtor to “use

property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C.§

363(c)(1). Thus, bankruptcy courts have routinely permitted chapter 11 debtors to continue to

use their existing cash management systems, generally treating requests for such relief as a

relatively “simple matter.” E.g., In re Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D.

Ohio 1987); see also In re Columbia Gas Sys., Inc., 136 B.R. at 934 (Bankr. D. Del. 1992), aff’d

in part and rev’d in part, 997 F.2d 1039 (3d Cir. 1993).

               11.     Here, the Management Agreement reduces expenses and exposure by

enabling the Management Company to limit the Debtor's liability from vendor disputes and

employee and client related obligations and claims.



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                12.     Post-petition adherence to the Management Agreement provides a

“business as usual” atmosphere, facilitates the Debtor's stabilization of its business operations,

and assists the Debtor in its efforts to reorganize and preserve value.

                13.     Conversely, aborting the Management Agreement and operating the

Williamsburg Hotel through the Debtor will disrupt relationships with vendors and other key

counterparties, all of whom are accustomed to working with the Management Company under

the Cash Management System. Furthermore, it will expose the Debtor to a range of potential new

liabilities related to the operation of the business. This includes executing new vendor and

employment contracts as well as event and sales agreements, thereby subjecting the Debtor and

the underlying real estate to all future obligations and liabilities thereof.

                14.     Under the Cash Management System, transfers are made between the

Debtor and Management Company Accounts that are necessary to fund operations of the Hotel

and the Management Company. The Debtor and the Management Company maintain, and will

continue to maintain, current records of all transfers and can readily ascertain, trace, and account

for all intercompany transactions. All Debtor and Management Company Bank Statements are

included as exhibits to the Debtor's monthly operating reports.

                15.     Annexed hereto as Exhibit B is the June operating report. The transfers

from Debtor account 0935 to the Management Company are highlighted on pages 16 to 32 in

blue. The transfers into Management Company accounts 1596, 1603 and 1611 are highlighted in

yellow. Each outgoing transfer from the Debtor account ending in 0935 has a corresponding

incoming transfer into one of the management company accounts ending in 1596, 1603 or 1611.




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If the Debtor discontinued the transfer of funds from the DIP Account to the Management

Company Disbursement, Payroll, and Sales Tax Reserve Accounts, the Cash Management

System and related administrative controls would be disrupted. The Debtor thus submits that the

continuation of the intercompany funding is in the best interests of the Debtor's estate and

creditors.

                                          CONCLUSION

               WHEREFORE, the Debtor respectfully requests that the Court enter an order

granting the relief sought herein, and granting such other, further and different relief as this

Court may deem just and proper.

Dated: New York, New York
       August 10, 2021


                                       BACKENROTH FRANKEL & KRINSKY, LLP
                                       Attorneys for Debtor


                                       By:     s/Mark Frankel
                                               800 Third Avenue
                                               New York, New York 10022
                                               (212) 593-1100




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                     Chapter 11

           96 Wythe Acquisition LLC                                       Case no. 21-22108 (RDD)

                                    Debtor.
--------------------------------------------------------x
                                                        ORDER1

       Upon the application ("Application") of 96 Wythe Acquisition LLC (the “Debtor”) for an
order under sections 105(a), 345, and 363(c)(1), of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), , and upon the hearing held before this Court on September 8, 2021; it is


        ORDERED, that The Debtor is authorized, as of the Petition Date, to continue to utilize its
Cash Management System with respect to intercompany transfers, in accordance with the Debtor's
customary business practices that existed prior to the Petition Date and in accordance with, and
subject to any approved cash collateral budget; and it is further


        ORDERED, that the Debtors shall maintain accurate and detailed records of all transfers,
including intercompany transfers, so that all transactions may be readily ascertained, traced,
recorded properly and distinguished between prepetition and postpetition transactions.; and it is
further


           ORDERED, that this Order is without prejudice to the rights of the Debtor and/or other
parties.

Dated:              New York, New York
                    _____________, 2021
                                               ____________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




1
    Unless otherwise defined herein, all defined terms herein shall have the meaning set forth in the Application.
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                               Exhibit B
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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF New York



In Re. 96 Wythe Acquisition LLC                                     §                   Case No. 21-22108
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 06/30/2021                                                        Petition Date: 02/23/2021

Months Pending: 4                                                                         Industry Classification:    0   0   0   0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Goldwasser                                                         David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
07/15/2021
                                                                             3284 N 29th Court
Date
                                                                             Hollywood, FL 33020
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name 96 Wythe Acquisition LLC                                                            Case No. 21-22108


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $710,237
b.   Total receipts (net of transfers between accounts)                                    $2,483,879                   $0
c.   Total disbursements (net of transfers between accounts)                               $1,568,092                   $0
d.   Cash balance end of month (a+b-c)                                                     $1,626,024
e.   Disbursements made by third party for the benefit of the estate                                 $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                               $1,568,092                   $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                               $86,805
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))               $70,711
d    Total current assets                                                                  $1,821,477
e.   Total assets                                                                         $97,282,913
f.   Postpetition payables (excluding taxes)                                               $1,542,341
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                              $603,911
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                         $2,146,252
k.   Prepetition secured debt                                                             $83,517,770
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                   $85,664,022
o.   Ending equity/net worth (e-n)                                                        $11,618,891

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                 $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                      $2,089,877
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           $958,919
c.   Gross profit (a-b)                                                                    $1,130,958
d.   Selling expenses                                                                         $85,046
e.   General and administrative expenses                                                     $279,776
f.   Other expenses                                                                          $203,093
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                     $16,180
k.   Profit (loss)                                                                           $546,863                   $0


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Debtor's Name 96 Wythe Acquisition LLC                                                                          Case No. 21-22108

Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total

         Itemized Breakdown by Firm
                Firm Name                          Role
         i
         ii

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

         Itemized Breakdown by Firm
                Firm Name                          Role
         i
         ii
c.       All professional fees and expenses (debtor & committees)

Part 6: Postpetition Taxes                                                                         Current Month              Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                                       $0                          $0
e.   Postpetition property taxes paid                                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by                     Yes        No      N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                                Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             Casualty/property insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             General liability insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                                 Yes        No


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Debtor's Name 96 Wythe Acquisition LLC                                                                        Case No. 21-22108


k.      Has a disclosure statement been filed with the court?                             Yes          No
l.      Are you current with quarterly U.S. Trustee fees as                               Yes          No
        set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ David Goldwasse                                                             David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

Manager                                                                         07/19/2021
Title                                                                           Date




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                                    1103100 · TD DIP Operating Account...0935, Period Ending 06/30/2021

                          Type             Date             Num     Name             Description        Clr     Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 55 items
                  Check                06/01/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884               -40.52
                  Check                06/01/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889               -38.11
                  Check                06/02/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -182.11
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              8889
                                                                                                 Fees
                                                                                                   ROOMS          -22,293.17
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              1884
                                                                                                 Fees
                                                                                                   F&B             -8,328.11
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              8889
                                                                                                 Fees
                                                                                                   ROOMS           -1,677.04
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              8889
                                                                                                 Fees
                                                                                                   ROOMS             -841.85
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              1884
                                                                                                 Fees
                                                                                                   F&B               -691.47
                  Bill Pmt -Check      06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              1884
                                                                                                 Fees
                                                                                                   F&B               -485.67
                  Check                06/03/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884               -39.20
                  Check                06/07/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889              -215.60
                  Bill Pmt -Check      06/09/2021     ACH         FIRST Ins (Pkg)
                                                                                Insurance
                                                                                  '20-'21                        -18,495.84
                  Check                06/09/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889              -351.13
                  Check                06/10/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              1884
                                                                                                 Fees
                                                                                                   F&B                   -0.80
                  Check                06/14/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -129.99
                  Check                06/14/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889               -33.76
                  Bill Pmt -Check      06/15/2021     ACH         Con Edison - 8RTL
                                                                                Utilities
                                                                                       (0200-8)                  -25,925.81
                  Bill Pmt -Check      06/15/2021     ACH         Con Edison - 6RTL
                                                                                Utilities
                                                                                       (0800-5)                   -3,235.00
                  Bill Pmt -Check      06/15/2021     ACH         Con Edison - 7RTL
                                                                                Utilities
                                                                                       (0900-3)                   -2,985.05
                  Bill Pmt -Check      06/15/2021     ACH         Con Edison - 2RTL
                                                                                Utilities
                                                                                       (0400-4)                     -736.08
                  Bill Pmt -Check      06/15/2021     ACH         Con Edison - 4RTL
                                                                                Utilities
                                                                                       (0600-9)                     -728.17
                  Check                06/17/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -103.08
                  Check                06/17/2021     ACH         FISERV MERCHANT
                                                                             A&G - CC
                                                                                   SERVICES
                                                                                      Processing
                                                                                              1884
                                                                                                 Fees
                                                                                                   F&B                   -0.44
                  Check                06/18/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889               -62.08
                  Check                06/21/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -150.00
                  Check                06/23/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -282.44
                  Check                06/25/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889              -164.25
                  General Journal      06/25/2021     SQVRFY      Square         A&G - CC Processing Fees               -0.01
                  Check                06/28/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        Rooms
                                                                                       Debt Expense8889              -343.91
                  Check                06/30/2021     ACH         FISERV MERCHANT
                                                                             A&G - Bad
                                                                                   CHARGEBACKS        F&B
                                                                                       Debt Expense1884              -236.26
               Total Checks and Payments                                                                          -88,796.95




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                                           1103500 · TD Mgmt Main Account...1596, Period Ending 06/30/2021

                            Type          Date         Num                        Name                      Description            Clr        Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 315 items
                    Bill Pmt -Check     03/31/2021   1027      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)       -477.96
                    Bill Pmt -Check     05/03/2021   1046      Merv Filters LLC                      POM - Engineering Supplies               -1,260.00
                    Bill Pmt -Check     05/03/2021   1047      Advanced Flameproofing Corp.          POM - Life/Safety                         -903.23
                    Bill Pmt -Check     05/03/2021   1038      All Squared                                                         
                                                                                                     Rooms - Travel Agent Commissions             -56.70
                    Bill Pmt -Check     05/07/2021   1084      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)       -955.92
                    Bill Pmt -Check     05/07/2021   1078      Hospitality Resource Industries       POM - Engineering Supplies                -735.41
                    Check               05/07/2021   1253      Chun Wong                                                            
                                                                                                     Payroll Replacement Check (Reissued)       -632.47
                    Bill Pmt -Check     05/10/2021   1098      TechGrass                                                                   -3,260.25
                                                                                                     POM - Grounds, Maintenance & Landscaping
                    Bill Pmt -Check     05/13/2021   1104      Champion Elevator Corp.               POM - Elevator Services                     -80.00
                    Bill Pmt -Check     05/13/2021   1103      NYC Department of Buildings           A&G - Elevator Fees                         -40.00
                    Bill Pmt -Check     05/14/2021   1111      Sabre Hospitality Solutions           Rooms - Reservations Services &S&M - Consortia
                                                                                                                                             -7,805.47
                                                                                                                                                     Fees
                    Bill Pmt -Check     05/14/2021   1109      Chun Wong                                                            
                                                                                                     Payroll Replacement Check (Reissued)       -621.39
                    Bill Pmt -Check     05/14/2021   1113      BirchStreet Technologies, LLC         ITS - F&B Accubar Software                -429.33
                    Bill Pmt -Check     05/21/2021   1155      White Wall Locations LLC              S&M - Promotion                          -4,000.00
                    Bill Pmt -Check     05/21/2021   1157      NYC & Company                         S&M - Dues & Subscriptions               -2,931.00
                    Bill Pmt -Check     05/21/2021   1180      Innovation Shades                     Rooms - Operating Supplies               -2,068.62
                    Bill Pmt -Check     05/21/2021   1159      Michelle Price                        F&B - Music & Entertainment              -1,700.00
                    Bill Pmt -Check     05/21/2021   1149      The Regency Group                     S&M - Collateral Material                -1,466.07
                    Bill Pmt -Check     05/21/2021   1162      GdeP Inc.                             F&B - Food                                -708.00
                    Bill Pmt -Check     05/21/2021   1150      ScentAir Technologies                 POM - Engineering Supplies                -646.72
                    Bill Pmt -Check     05/21/2021   1160      DNA Illumination, Inc. (xslighting)   F&B - Marketing & Promotion               -500.00
                    Bill Pmt -Check     05/21/2021   1154      Bellocq, LLC                          F&B - N/A Beverage                        -225.62
                    Bill Pmt -Check     05/24/2021   1164      Luxury Gourmet Sweets                 Minibar - Sundries                        -672.20
                    Bill Pmt -Check     05/26/2021   1195      Sabre Hospitality Solutions           Rooms - Reservations Services &S&M - Consortia
                                                                                                                                             -7,665.61
                                                                                                                                                     Fees
                    Bill Pmt -Check     05/26/2021   1198      Oracle America Inc.                                                  
                                                                                                     ITS - Property Management Software        -7,068.91
                    Bill Pmt -Check     05/26/2021   1181      Joe's Fabric Warehouse                Rooms - Operating Supplies               -5,852.03
                    Bill Pmt -Check     05/26/2021   1168      Metro Electrical Contractors, Inc.    POM - Electric Repair                    -5,000.00
                    Bill Pmt -Check     05/26/2021   1175      Edison Parker & Associates LLC        POM - Plumbing                           -4,339.34
                    Bill Pmt -Check     05/26/2021   1189      I. Halper                             F&B - Supplies                           -2,501.10
                    Check               05/26/2021   1258      Oracle America Inc.                                                   (Reissued)
                                                                                                     ITS - Property Management Software     -2,344.24
                    Check               05/26/2021   1257      Protek                                POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                               -2,193.41
                                                                                                                                                     (Reissued)
                    Bill Pmt -Check     05/26/2021   1179      Champion Elevator Corp.               POM - Elevator Services                  -2,186.75
                    Bill Pmt -Check     05/26/2021   1178      Royal Waste Services                  POM - Waste Removal                      -2,159.32
                    Bill Pmt -Check     05/26/2021   1192      Ford & Harrison LLP                   A&G - Legal Services                     -2,100.00
                    Bill Pmt -Check     05/26/2021   1174      County Fire Inc.                      POM - Life/Safety                        -1,994.39
                    Bill Pmt -Check     05/26/2021   1187      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)      -1,911.84
                    Bill Pmt -Check     05/26/2021   1190      White Plains Linen                    F&B - Linen Laundry                      -1,246.66
                    Bill Pmt -Check     05/26/2021   1177      Target Exterminating Inc.- Hotel      POM - Extermination                       -979.88
                    Bill Pmt -Check     05/26/2021   1196      Fivepals, Inc.                        ITS - Alice POM Software                  -871.00
                    Bill Pmt -Check     05/26/2021   1193      City Marshal Henry Daley              A&G - FDNY Fees                           -800.00
                    Bill Pmt -Check     05/26/2021   1191      Kaufman Borgeest & Ryan LLP           A&G - Legal Services                      -649.00
                    Bill Pmt -Check     05/26/2021   1173      Ian Carroll (Tonyblair69)             F&B - Music & Entertainment               -600.00
                    Bill Pmt -Check     05/26/2021   1183      New York Post                         Rooms - Guest Amenities                   -519.68
                    Bill Pmt -Check     05/26/2021   1186      AUTOTAP Corporation                   F&B - N/A Beverage                        -498.15
                    Bill Pmt -Check     05/26/2021   1171      Alex Simon Music                      F&B - Music & Entertainment               -400.00
                    Bill Pmt -Check     05/26/2021   1170      Claudius Raphael                      F&B - Music & Entertainment               -400.00
                    Check               05/26/2021   1256      IDEAS                                                               
                                                                                                     ITS - Room Revenue Software (Reissued)     -400.00
                    Bill Pmt -Check     05/26/2021   1188      Balter Sales Co.                      F&B - Glassware & Supplies                -367.52
                    Bill Pmt -Check     05/26/2021   1172      Michelle Valenzuela                   F&B - Music & Entertainment               -300.00
                    Check               05/26/2021   1255      Front Desk Supply                                                    
                                                                                                     Rooms - Guest Supplies (Reissued)          -290.80
                    Bill Pmt -Check     05/26/2021   1184      Dow Jones & Co.                       Rooms - Guest Amenities                     -38.40




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                      Type         Date          Num                       Name                        Description              Clr         Amount

              Bill Pmt -Check    05/28/2021   1204     Design Window Covering                   Rooms - Operating Supplies                  -4,668.02
              Check              05/28/2021   1259                                                                             
                                                       Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry (Reissued)            -3,498.48
              Bill Pmt -Check    05/28/2021   1202     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,923.00
              Bill Pmt -Check    05/28/2021   1209     James Billingsley                        S&M - Photography                           -1,900.00
              Bill Pmt -Check    05/28/2021   1203     Fall Family LLC                                                          
                                                                                                POM - Contract Labor (Elevator Attendant)     -550.40
              Bill Pmt -Check    05/28/2021   1205     Andre Watson                             F&B - Music & Entertainment                  -550.00
              Bill Pmt -Check    05/31/2021   1220     Design Window Covering                   Rooms - Operating Supplies                  -4,668.01
              Bill Pmt -Check    05/31/2021   1211     D'Artagnan                               F&B - Food                                  -4,278.19
              Bill Pmt -Check    05/31/2021   1212     Riviera Produce                          F&B - Food                                  -3,631.02
              Check              05/31/2021   1262     Brouqueline, LLC                                                        
                                                                                                F&B - Marketing & Promotion (Reissued)       -1,575.00
              Bill Pmt -Check    05/31/2021   1213     Alboro National                          F&B - Contract Services (Security)          -1,485.04
              Check              05/31/2021   1261     Ella Darr                                                               
                                                                                                F&B - Music & Entertainment (Reissued)        -700.00
              Bill Pmt -Check    05/31/2021   1217     Ian Carroll (Tonyblair69)                F&B - Music & Entertainment                  -600.00
              Bill Pmt -Check    05/31/2021   1218     Lohrasp Kansara                          F&B - Music & Entertainment                  -500.00
              Check              05/31/2021   1260     Alex Simon Music                                                        
                                                                                                F&B - Music & Entertainment (Reissued)        -200.00
              Bill Pmt -Check    06/01/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -7,549.39
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/01/2021   ACH      Sorbis                                   ITS - IT Contract Services                  -6,372.50
              Check              06/01/2021   ACH      Visa Chase Ink                           A&G - Credit Card Payment                   -1,000.00
              Check              06/01/2021   ACH      Bank of America Business Card 7197       A&G - Credit Card Payment                   -1,000.00
              Check              06/01/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                    -812.54
              Bill Pmt -Check    06/01/2021   1200     Moshe Schepansky                                                        
                                                                                                POM - Employee Benefits (Insurance)           -495.74
              Bill Pmt -Check    06/02/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                              -14,057.85
              Bill Pmt -Check    06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -3,782.75
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/02/2021   Wire     Mint Development...0696                  POM - Engineers Contract Labor              -3,275.00
              Bill Pmt -Check    06/02/2021   ACH      Empire Blue Cross Blue Shield                                          
                                                                                                Employee Health Insurance Monthly            -2,214.48
              Bill Pmt -Check    06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,620.09
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/02/2021   Wire     Janover LLC                                                            
                                                                                                Employee Health Insurance Monthly            -1,337.94
              Check              06/02/2021   ACH      Ascentium Capital                        Rooms - Cable Television                    -1,249.32
              Bill Pmt -Check    06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,029.93
                                                                                                                                     and Supplies
              Check              06/02/2021   1306     Seydou Ouattara                          Payroll Replacement Check                    -473.66
              Bill Pmt -Check    06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,       -326.49
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/02/2021   ACH      Elavon                                   A&G - CC Processing Fees                     -287.52
              Bill Pmt -Check    06/02/2021   ACH      Verizon                                                                  
                                                                                                ITS - Elevator Phone Lines Monthly            -199.20
              Check              06/02/2021   ACH      TD Bank 1596                             A&G - Banking Charges                          -30.00
              Check              06/02/2021   ACH      TD Bank 1596                             A&G - Banking Charges                          -30.00
              Bill Pmt -Check    06/03/2021   1226     Matouk                                   Rooms - Linen Cost                          -7,005.82
              Bill Pmt -Check    06/03/2021   1229     Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry                      -3,516.71
              Check              06/03/2021   1264     Complete Equipment Rentals                                              
                                                                                                POM - Engineering Supplies (Reissued)        -3,320.00
              Bill Pmt -Check    06/03/2021   1219     NYC Hospitality Services LLC             F&B - Marketing & Promotion                 -2,500.00
              Bill Pmt -Check    06/03/2021   1230     Boca Terry                               Rooms - Linen Cost                          -2,177.46
              Check              06/03/2021   1263     Michelle Price                                                          
                                                                                                F&B - Music & Entertainment (Reissued)       -2,100.00
              Check              06/03/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                   -1,668.69
              Bill Pmt -Check    06/03/2021   1223     RMAC Supplies Co.                        Rooms - Cleaning Supplies                   -1,069.44
              Bill Pmt -Check    06/03/2021   1224     Logical Attitude Enterprises Inc.        S&M - Promotion                             -1,000.00
              Bill Pmt -Check    06/03/2021   1221     Nassau Candy Distributors Inc.           F&B - Minibar Food                           -435.12
              Bill Pmt -Check    06/04/2021   1288     Booking.com                              Rooms - OTA Commissions                     -8,215.20
              Check              06/04/2021   Wire     APLBC LTD.                               S&M - Marketing                             -5,200.00
              Bill Pmt -Check    06/04/2021   Wire     Mint Development...0696                  POM - Engineers Contract Labor              -3,537.50
              Bill Pmt -Check    06/04/2021   1232     Sogno Toscano Tuscan Dream               F&B - Food                                  -1,976.56
              Check              06/04/2021   1266     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,923.00
                                                                                                                                             [Reissued]
              Bill Pmt -Check    06/04/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,309.48
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/04/2021   1251     Gray Matter Networks                     ITS - Phone Support                          -909.83
              Bill Pmt -Check    06/04/2021   1243     Fivepals, Inc.                           ITS - Alice POM Software                     -871.00
              Bill Pmt -Check    06/04/2021   1242     Big Blue Beer Distributor                F&B - Alcohol                                -851.18




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                      Type         Date          Num                          Name                           Description         Clr     Amount

              Bill Pmt -Check    06/04/2021   ACH          Winebow, Inc                          F&B - Alcohol                             -787.30
              Bill Pmt -Check    06/04/2021   1271         Petty Cash                            F&B - Alcohol                             -742.36
              Check              06/04/2021   ACH          Phase Three Capital LLC               F&B - Equipment Rental                    -535.93
              Bill Pmt -Check    06/04/2021   1235         Anthony Jones                         Payroll Replacement Check                 -528.03
              Bill Pmt -Check    06/04/2021   1250         My Mommas Rice LLC                    F&B - Music & Entertainment               -500.00
              Bill Pmt -Check    06/04/2021   1237         My Mommas Rice LLC                    F&B - Music & Entertainment               -500.00
              Bill Pmt -Check    06/04/2021   1249         DNA Illumination, Inc. (xslighting)   F&B - Marketing & Promotion               -500.00
              Bill Pmt -Check    06/04/2021   1239         GdeP Inc.                             F&B - Food                                -472.00
              Bill Pmt -Check    06/04/2021   1236         Lohrasp Kansara                       F&B - Music & Entertainment               -400.00
              Bill Pmt -Check    06/04/2021   1244         IDEAS                                 ITS - Room Revenue Software               -400.00
              Check              06/04/2021   1265         Madison Lombard                                                      
                                                                                                 Payroll Replacement Check (Reissued)       -278.10
              Bill Pmt -Check    06/04/2021   1233         Kennedy Bacchus                       Payroll Replacement Check                 -228.40
              Bill Pmt -Check    06/04/2021   1247         Alex Simon Music                      F&B - Music & Entertainment               -200.00
              Bill Pmt -Check    06/04/2021   1246         Alberto Gomez                         F&B - Operating Supplies                  -189.61
              Bill Pmt -Check    06/04/2021   1238         Andre Watson                          F&B - Marketing & Promotion               -100.00
              Check              06/04/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -50.00
              Check              06/04/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -30.00
              Bill Pmt -Check    06/07/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                 F&B - Food, Non-Alcoholic Beverages,      -4,607.60
                                                                                                                                      and Supplies
              Check              06/07/2021   Debit Card   Wayfair                               F&B - Operating Supplies                 -2,808.95
              Bill Pmt -Check    06/07/2021   1245         Alboro National                       F&B - Contract Services (Security)       -2,473.08
              Bill Pmt -Check    06/07/2021   1248         Mod Schwalbe Design                   S&M - Photography                         -800.00
              Bill Pmt -Check    06/08/2021   ACH          Oxford Health - Combined                                            
                                                                                                 Employee Health Insurance Monthly         -5,396.28
              Bill Pmt -Check    06/08/2021   1277         NYC Water Board                       Utilities                                -4,690.74
              Bill Pmt -Check    06/08/2021   1283         D'Artagnan                            F&B - Food                               -4,684.72
              Bill Pmt -Check    06/08/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                 F&B - Food, Non-Alcoholic Beverages,      -1,615.05
                                                                                                                                      and Supplies
              Bill Pmt -Check    06/08/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                 F&B - Food, Non-Alcoholic Beverages,      -1,319.30
                                                                                                                                      and Supplies
              Bill Pmt -Check    06/08/2021   1276         Protek                                POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                           -1,200.35
              Check              06/08/2021   1305         Jeffrey Milton                        Payroll Replacement Check                 -947.93
              Bill Pmt -Check    06/08/2021   ACH          Empire Merchants, LLC.                F&B - Alcohol                             -826.77
              Bill Pmt -Check    06/08/2021   1285         GdeP Inc.                             F&B - Food                                -767.00
              Check              06/08/2021   1307         Seydou Ouattara                       Payroll Replacement Check                 -636.17
              Check              06/08/2021   EFT          American Express - Gold               A&G - Credit Card Payment                 -576.88
              Bill Pmt -Check    06/08/2021   1284         Sogno Toscano Tuscan Dream            F&B - Food                                -392.20
              Check              06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                     -105.00
              Check              06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -70.00
              Check              06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -30.00
              Bill Pmt -Check    06/09/2021   1268         NYC Hospitality Services LLC          F&B - Marketing & Promotion              -5,500.00
              Bill Pmt -Check    06/09/2021   ACH          Santec Inc. (Cleanslate)              F&B - Cleaning Supplies                  -1,193.03
              Check              06/09/2021   ACH          Visa Chase Ink                        A&G - Credit Card Payment                -1,000.00
              Check              06/09/2021   ACH          Bank of America Business Card 7197    A&G - Credit Card Payment                -1,000.00
              Bill Pmt -Check    06/09/2021   1267         Bravo Distributing LLC                F&B - Alcohol                             -684.00
              Bill Pmt -Check    06/10/2021   1286         Riviera Produce                       F&B - Food                               -4,158.65
              Bill Pmt -Check    06/10/2021   Wire         Mint Development...0696               POM - Engineers Contract Labor           -3,515.00
              Bill Pmt -Check    06/10/2021   1298         Todd Harris Co, Inc                   POM - Engineering Supplies               -2,687.49
              Bill Pmt -Check    06/10/2021   ACH          Winebow, Inc                          F&B - Alcohol                            -2,035.90
              Bill Pmt -Check    06/10/2021   ACH          Empire Merchants, LLC.                F&B - Alcohol                            -1,382.48
              Bill Pmt -Check    06/10/2021   1280         Brouqueline, LLC                      F&B - Marketing & Promotion              -1,125.00
              Check              06/10/2021   EFT          American Express - Gold               A&G - Credit Card Payment                -1,112.55
              Bill Pmt -Check    06/10/2021   1269         Manhattan Beer Distributors           F&B - Alcohol                             -758.68
              Bill Pmt -Check    06/10/2021   1270         Big Blue Beer Distributor             F&B - Alcohol                             -604.66
              Bill Pmt -Check    06/10/2021   1279         Andre Watson                          F&B - Music & Entertainment               -450.00
              Bill Pmt -Check    06/10/2021   1282         Maria Ton                             F&B - Music & Entertainment               -400.00
              Bill Pmt -Check    06/10/2021   1281         Claudius Raphael                      F&B - Music & Entertainment               -400.00
              Bill Pmt -Check    06/10/2021   1272         Nassau Candy Distributors Inc.        F&B - Minibar Food                        -338.29




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                                   1103500 · TD Mgmt Main Account...1596, Period Ending 06/30/2021

                      Type         Date          Num                      Name                         Description              Clr       Amount

              Check              06/10/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -30.00
              Bill Pmt -Check    06/11/2021   1297     Boruch Bergman                           POM - Engineering Supplies                -8,937.64
              Bill Pmt -Check    06/11/2021   1313     Matouk                                   Rooms - Linen Cost                        -7,005.82
              Bill Pmt -Check    06/11/2021   1295     Metro Electrical Contractors, Inc.       POM - Electric Repair                     -5,000.00
              Check              06/11/2021   ACH      Visa Chase Ink                           A&G - Credit Card Payment                 -4,600.49
              Bill Pmt -Check    06/11/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                             -3,566.00
              Check              06/11/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                 -2,406.59
              Check              06/11/2021   ACH      Bank of America Business Card 7197       A&G - Credit Card Payment                 -2,356.68
              Bill Pmt -Check    06/11/2021   1287     A&L Cesspool Service Corp.               POM - Plumbing                            -1,900.00
              Bill Pmt -Check    06/11/2021   1351     The Metro Group, Inc.                    POM - Engineering Supplies                -1,780.11
              Bill Pmt -Check    06/11/2021   1300     Fall Family LLC                                                          
                                                                                                POM - Contract Labor (Elevator Attendant) -1,754.40
              Bill Pmt -Check    06/11/2021   1273     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,282.00
              Bill Pmt -Check    06/11/2021   1312     Sabre Hospitality Solutions              S&M - Consortia Fees                        -907.29
              Bill Pmt -Check    06/11/2021   1361     Balter Sales Co.                         F&B - Glassware & Supplies                  -675.95
              Bill Pmt -Check    06/11/2021   1274     Vanessa Chu                              Payroll Replacement Check                   -355.72
              Bill Pmt -Check    06/11/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,       -339.88
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/11/2021   Wire     Ralph Ervin                              Payroll Replacement Check                   -232.99
              Bill Pmt -Check    06/11/2021   1275     Louis Yan                                Payroll Replacement Check                   -207.17
              Check              06/11/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -30.00
              Bill Pmt -Check    06/14/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                            -14,624.22
              Bill Pmt -Check    06/14/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -6,152.41
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/14/2021   ACH      Guard Insurance                          Workers Compensation Insurance            -1,375.81
              Bill Pmt -Check    06/15/2021   1302     Darius Designs                           Rooms - Operating Supplies                -4,317.39
              Bill Pmt -Check    06/15/2021   1292     In-Room Plus Inc.                        F&B - Minibar Food & Sundries             -3,568.06
              Bill Pmt -Check    06/15/2021   1294     Alboro National                          F&B - Contract Services (Security)        -3,227.58
              Bill Pmt -Check    06/15/2021   1293     DNA Illumination, Inc. (xslighting)      F&B - Marketing & Promotion               -2,895.25
              Bill Pmt -Check    06/15/2021   1367     Emett Controls Inc.                      ITS - System Expenses                     -2,351.70
              Bill Pmt -Check    06/15/2021   1299     Champion Elevator Corp.                  POM - Elevator Services                   -2,186.75
              Bill Pmt -Check    06/15/2021   1296     Protek                                   POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                          -1,968.27
              Bill Pmt -Check    06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,575.30
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/15/2021   1366     Cristian Ramirez                         F&B - Contract Labor (Doorman)            -1,500.00
              Bill Pmt -Check    06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,493.67
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/15/2021   1357     Coffee of Grace                          F&B - N/A Beverage                        -1,135.00
              Bill Pmt -Check    06/15/2021   1290     Bravo Distributing LLC                   F&B - Alcohol                               -972.00
              Bill Pmt -Check    06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                                F&B - Food, Non-Alcoholic Beverages,       -925.92
                                                                                                                                     and Supplies
              Bill Pmt -Check    06/15/2021   1303     Dr Shade Design Inc                      Rooms - Operating Supplies                  -468.16
              Bill Pmt -Check    06/15/2021   1358     Fine & Raw Chocolate                     F&B - Food                                  -396.00
              Bill Pmt -Check    06/15/2021   1356     AUTOTAP Corporation                      F&B - N/A Beverage                          -303.85
              Bill Pmt -Check    06/15/2021   1354     Lavazza Premium Coffees Corp.            F&B - N/A Beverage                          -250.00
              Bill Pmt -Check    06/15/2021   1359     Popinsanity                              F&B - Minibar Food                          -235.00
              Bill Pmt -Check    06/15/2021   1360     Allbridge (DCI-Design)                   ITS - Phone Support                          -55.00
              Bill Pmt -Check    06/16/2021   1352     NYC Hospitality Services LLC             F&B - Marketing & Promotion               -6,000.00
              Bill Pmt -Check    06/16/2021   1311     Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry                    -5,399.13
              Bill Pmt -Check    06/16/2021   1309     Horticultural Creations                                                        -1,015.80
                                                                                                POM - Grounds, Maintenance & Landscaping
              Bill Pmt -Check    06/16/2021   1310     Hospitality Careers Online, Inc.         A&G - Human Resources                       -999.00
              Bill Pmt -Check    06/16/2021   1308     GdeP Inc.                                F&B - Food                                  -590.00
              Bill Pmt -Check    06/16/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                               -427.96
              Bill Pmt -Check    06/17/2021   ACH      Lobster Place Wholesale Seafood          F&B - Food                                -3,775.90
              Bill Pmt -Check    06/17/2021   ACH      Empire Merchants, LLC.                   F&B - Alcohol                             -3,217.09
              Bill Pmt -Check    06/17/2021   ACH      Winebow, Inc                             F&B - Alcohol                             -2,544.90
              Bill Pmt -Check    06/17/2021   Wire     Rifka Buls                               S&M - Contract Labor (Sales)              -1,500.00
              Bill Pmt -Check    06/17/2021   ACH      David Bowler Wine                        F&B - Alcohol                               -306.00
              Bill Pmt -Check    06/17/2021   Wire     Good Design                              F&B - Operating Supplies                    -160.00
              Check              06/17/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -50.00




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                      Type         Date          Num                            Name                             Description         Clr       Amount

              Check              06/17/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -50.00
              Bill Pmt -Check    06/18/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -3,983.87
                                                                                                                                          and Supplies
              Bill Pmt -Check    06/18/2021   Wire         Mint Development...0696                   POM - Engineers Contract Labor            -3,515.00
              Bill Pmt -Check    06/18/2021   1325         Krinsky Design                            S&M - Photography                         -3,264.99
              Bill Pmt -Check    06/18/2021   ACH          Sorbis                                    ITS - IT Contract Services                -2,915.58
              Bill Pmt -Check    06/18/2021   1315         Simon Warrington                          S&M - Contract Labor (Marketing Consultant)-1,923.00
              Bill Pmt -Check    06/18/2021   1314         Julita Kropiwnicki                        A&G - Expense Reimbursement                 -992.59
              Bill Pmt -Check    06/18/2021   1318         Alex Simon Music                          F&B - Music & Entertainment                 -800.00
              Bill Pmt -Check    06/18/2021   1317         Convenience Kits International Ltd.       F&B - Minibar Sundries                      -644.72
              Bill Pmt -Check    06/18/2021   1323         Ian Carroll (Tonyblair69)                 F&B - Music & Entertainment                 -600.00
              Bill Pmt -Check    06/18/2021   1316         Big Geyser Inc.                           F&B - Minibar Food                          -356.80
              Bill Pmt -Check    06/18/2021   1322         Need to Know Nightlife (Joseph Greiner)   F&B - Music & Entertainment                 -350.00
              Bill Pmt -Check    06/18/2021   1320         Michael Davidson                          F&B - Music & Entertainment                 -300.00
              Bill Pmt -Check    06/18/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                               -264.00
              Bill Pmt -Check    06/18/2021   1319         Andre Watson                              F&B - Music & Entertainment                 -150.00
              Bill Pmt -Check    06/18/2021   ACH          Con Edison - 1RTL (0300-6)                Utilities                                    -32.73
              Bill Pmt -Check    06/18/2021   ACH          Con Edison - 3RTL (0500-1)                Utilities                                    -32.73
              Bill Pmt -Check    06/18/2021   ACH          Con Edison - 5RTL (0700-7)                Utilities                                    -32.73
              Check              06/18/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Bill Pmt -Check    06/21/2021   ACH          Expedia, Inc.                             Rooms - OTA Commissions                  -11,911.64
              Bill Pmt -Check    06/21/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -4,580.34
                                                                                                                                          and Supplies
              Check              06/21/2021   ACH          Bank of America Business Card 7197        A&G - Credit Card Payment                 -2,000.00
              Check              06/21/2021   ACH          Visa Chase Ink                            A&G - Credit Card Payment                 -2,000.00
              Check              06/21/2021   ACH          Intuit Quickbooks                         ITS - System Expenses                       -383.24
              Bill Pmt -Check    06/22/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                            -21,404.40
              Bill Pmt -Check    06/22/2021   Wire         H & A Clarke, Inc                         Rooms - Linen Cost                        -8,071.25
              Check              06/22/2021   ACH          Visa Chase Ink                            A&G - Credit Card Payment                 -5,552.86
              Bill Pmt -Check    06/22/2021   1326         D'Artagnan                                F&B - Food                                -5,484.84
              Bill Pmt -Check    06/22/2021   1330         Big Blue Beer Distributor                 F&B - Alcohol                             -2,624.50
              Check              06/22/2021   EFT          American Express - Gold                   A&G - Credit Card Payment                 -2,214.78
              Bill Pmt -Check    06/22/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                             -1,678.00
              Bill Pmt -Check    06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -1,350.56
                                                                                                                                          and Supplies
              Bill Pmt -Check    06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -1,262.49
                                                                                                                                          and Supplies
              Bill Pmt -Check    06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -1,012.27
                                                                                                                                          and Supplies
              Bill Pmt -Check    06/22/2021   ACH          Empire Merchants, LLC.                    F&B - Alcohol                               -902.68
              Check              06/22/2021   ACH          Alliance Laundry Services                                               
                                                                                                     Rooms - Washer/Dryer Monthly Lease           -324.85
              Check              06/22/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Bill Pmt -Check    06/23/2021   Wire         Kassatex                                  Rooms - Linen Cost                        -9,989.46
              Bill Pmt -Check    06/23/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                             -6,930.61
              Bill Pmt -Check    06/23/2021   1342         NYC Hospitality Services LLC              F&B - Marketing & Promotion               -6,000.00
              Bill Pmt -Check    06/23/2021   Wire         T-Y Group, LLC (Harbor Linen)             Rooms - Linen Cost                        -3,730.85
              Check              06/23/2021   Debit Card   Microsoft Store                           ITS - Operating Supplies                  -2,740.35
              Bill Pmt -Check    06/23/2021   ACH          Micros Retail Systems Inc.                ITS - F&B POS Support Monthly               -994.99
              Check              06/23/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Check              06/23/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Check              06/24/2021   ACH          Bank of America Business Card 7197        A&G - Credit Card Payment                 -7,802.41
              Bill Pmt -Check    06/24/2021   1331         Alboro National                           F&B - Contract Services (Security)        -2,805.42
              Bill Pmt -Check    06/24/2021   ACH          Winebow, Inc                              F&B - Alcohol                             -1,683.00
              Bill Pmt -Check    06/24/2021   ACH          Empire Merchants, LLC.                    F&B - Alcohol                             -1,166.76
              Bill Pmt -Check    06/24/2021   1343         Ella Darr                                 F&B - Music & Entertainment               -1,050.00
              Bill Pmt -Check    06/24/2021   1347         Andre Watson                              F&B - Music & Entertainment               -1,000.00
              Bill Pmt -Check    06/24/2021   1346         Alex Simon Music                          F&B - Music & Entertainment                 -800.00
              Bill Pmt -Check    06/24/2021   1345         Cristian Ramirez                          F&B - Contract Labor (Doorman)              -750.00
              Bill Pmt -Check    06/25/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                     F&B - Food, Non-Alcoholic Beverages,      -4,445.46
                                                                                                                                          and Supplies




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                       Type            Date        Num                        Name                     Description             Clr          Amount

               Bill Pmt -Check     06/25/2021   Wire         Mint Development...0696            POM - Engineers Contract Labor              -3,575.00
               Bill Pmt -Check     06/25/2021   ACH          NYSIF-DBL                                                            Leave
                                                                                                Insurance - Disability & Paid Family         -3,085.26
               Check               06/25/2021   EFT          American Express - Gold            A&G - Credit Card Payment                     -967.41
               Bill Pmt -Check     06/25/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages,       -648.05
                                                                                                                                     and Supplies
               Check               06/25/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Bill Pmt -Check     06/28/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -4,834.92
                                                                                                                                     and Supplies
               Bill Pmt -Check     06/28/2021   1392         Complete Equipment Rentals         POM - Engineering Supplies                  -3,243.26
               Bill Pmt -Check     06/28/2021   1369         Big Blue Beer Distributor          F&B - Alcohol                               -2,414.53
               Bill Pmt -Check     06/28/2021   1373         Trummer Hospitality Holdings LLC                                  
                                                                                                F&B - Contract Labor (Beverage Consultant) -1,600.00
               Bill Pmt -Check     06/28/2021   1372         Bravo Distributing LLC             F&B - Alcohol                               -1,080.00
               Bill Pmt -Check     06/28/2021   1382         Fivepals, Inc.                     ITS - Alice POM Software                      -871.00
               Bill Pmt -Check     06/28/2021   ACH          TripAdvisor                        S&M - Dues & Subscriptions                    -788.33
               Check               06/28/2021   Debit Card   Print on Broadway                  A&G - Printing & Stationery                   -734.91
               Bill Pmt -Check     06/29/2021   ACH          Southern Glazer's of NY Metro      F&B - Alcohol                              -23,281.20
               Bill Pmt -Check     06/29/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                               -8,930.91
               Bill Pmt -Check     06/29/2021   ACH          Winebow, Inc                       F&B - Alcohol                               -3,200.00
               Check               06/29/2021   EFT          American Express - Gold            A&G - Credit Card Payment                   -2,788.72
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,952.59
                                                                                                                                     and Supplies
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,554.30
                                                                                                                                     and Supplies
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages,      -1,182.14
                                                                                                                                     and Supplies
               Bill Pmt -Check     06/29/2021   Wire         Mint Development...0696            POM - Engineers Contract Labor                -760.00
               Bill Pmt -Check     06/29/2021   Wire         Luxury Gourmet Sweets              F&B - Minibar Sundries                        -672.20
               Check               06/29/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Check               06/29/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Bill Pmt -Check     06/30/2021   ACH          Sorbis                             ITS - IT Contract Services                  -5,356.46
               Bill Pmt -Check     06/30/2021   Wire         Onyx CenterSource AS                                             
                                                                                                Rooms - Travel Agent Commissions             -4,601.45
               Bill Pmt -Check     06/30/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                               -1,298.82
               Bill Pmt -Check     06/30/2021   1404         Bianca Uben                        Payroll Replacement Check                     -508.38
               Bill Pmt -Check     06/30/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                                 -453.60
               Check               06/30/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Check               06/30/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
           Total Checks and Payments                                                                                                       -630,890.46




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 9                           Type                Date           Num                 Name                              Description                      Clr   Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 14 items
                     Check                  06/01/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -627.28
                     General Journal        06/04/2021    PR053021-10    Payroll Entry                Payroll for 05/24/21 - 05/30/21 #223                   -92,067.10
                     General Journal        06/04/2021    PR053021-11    Payroll Entry                Payroll for 05/24/21 - 05/30/21 #223                   -37,509.07
                     Check                  06/07/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -710.95
                     General Journal        06/11/2021    PR060621-10    Payroll Entry                Payroll for 05/31/21 - 06/06/21 #224                  -113,582.28
                     General Journal        06/11/2021    PR060621-11    Payroll Entry                Payroll for 05/31/21 - 06/06/21 #224                   -48,929.03
                     Check                  06/11/2021    ACH            Paychex - Time & Attend (HRS) ITS - Time & Attendance Software                         -318.85
                     Check                  06/14/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -711.21
                     General Journal        06/18/2021    PR061321-10    Payroll Entry                Payroll for 06/07/21 - 06/13/21 #225                  -116,310.52
                     General Journal        06/18/2021    PR061321-11    Payroll Entry                Payroll for 06/07/21 - 06/13/21 #225                   -50,574.46
                     Check                  06/21/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -673.59
                     General Journal        06/25/2021    PR062021-10    Payroll Entry                Payroll for 06/14/21 - 06/20/21 #226                  -125,372.60
                     General Journal        06/25/2021    PR062021-11    Payroll Entry                Payroll for 06/14/21 - 06/20/21 #226                   -52,615.46
                     Check                  06/28/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -750.68
               Total Checks and Payments                                                                                                                     -640,753.08
               Deposits and Credits - 12 items
                     General Journal        06/02/2021    HFAdj3         Seydou Ouattara              Return Payroll Check due to incorrect deposit info        473.66
                     General Journal        06/08/2021    HFAdj4         Seydou Ouattara              Return Payroll Check due to incorrect deposit info        636.17
                     General Journal        06/08/2021    HFAdj4         Jeffrey Milton               Return Payroll Check due to incorrect deposit info        947.93
                     General Journal        06/24/2021    ReturnCh       Joseph Gauthier              Return Payroll Check due to incorrect deposit info        302.97
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     319.56
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     342.33
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     392.10
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     414.54
               Total Deposits and Credits                                                                                                                      3,829.26




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7:27 PM                                                   The Williamsburg
07/13/21     21-22108-rdd           Doc 83
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                                    1103520 · TD Mgmt Reserve Account...1611, Period Ending 06/30/2021

                          Type             Date     Num       Name               Description     Clr     Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 2 items
                       Check          06/21/2021   ACH    NYS DTF        Sales Tax Payment              -207,648.35
                       Check          06/30/2021   ACH    TD Bank 1611   A&G - Banking Charges                -3.00
               Total Checks and Payments                                                                 -207,651.35




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                                         The Williamsburg Hotel
                                      Income Statement Summary
                                               June 2021

                                                               Actual          %

               Paid Occupied Rooms                                  3,688
               Occupied Rooms                                       3,742
               Available Rooms                                      4,410




                                                                             L
               Paid Occupancy %                                     83.6%
               Total Occupancy %                                    84.9%
               Paid ADR                                   $        315.38




                                                             A
               Total ADR                                  $        310.82
               RevPAR                                     $        263.74




                                                          TI
               Revenue
               Rooms                                      $   1,163,103.04    55.7%
               Food & Beverage                            $     866,150.05    41.4%
                                                          $      60,624.27     2.9%
               Miscellaneous Revenue
               Total Revenue
                                          EN              $   2,089,877.36   100.0%

               Departmental Expenses
               Rooms                                      $    404,690.90    34.8%
               Food & Beverage                            $    554,227.98    64.0%
                             ID
               Total Departmental Expenses                $    958,918.88    45.9%

               Total Departmental Profit                  $   1,130,958.48   54.1%
               NF


               Undistributed Operating Expenses
               Admin & General                            $    279,776.22    13.4%
               Info & Telecomm Systems                    $     20,860.00     1.0%
               Sales & Marketing                          $     85,046.05     4.1%
               Property Operations & Maintenance          $    133,999.06     6.4%
CO




               Utilities                                  $     48,234.21     2.3%
               Total Undistributed Expenses               $    567,915.54    27.2%

               Gross Operating Profit                     $    563,042.94    26.9%

               Property & Liability Insurance             $     16,179.58     0.8%

               Net Operating Profit                       $    546,863.35    26.2%




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                      The Williamsburg Hotel
                          Balance Sheet
        Period Ending                                          30-Jun-21

        Assets
        Cash And Cash Equivalents                      $    1,311,811.57
        Cash - Sales Tax Reserve                       $      323,437.41
        Net Receivables                                $       86,804.94
        Inventory                                      $       70,710.56
        Net Property Plant and Equipment               $   95,461,435.57
        Prepaid Expenses                               $       28,712.87
        Total Assets                                   $   97,282,912.92

        Liabilities
        Accounts Payable                               $    1,021,763.53
        Advance Deposits                               $      516,706.89
        Accrued Payroll & Employer Taxes               $      280,473.69
        Accrued Sales Tax (Rooms)                      $      246,279.42
        Accrued Sales Tax (F&B)                        $       77,157.99
        Long Term Debt                                 $   83,517,769.95
        Other Liabilities                              $        3,870.00
        Total Liabilities                              $   85,664,021.47

        Stockholders' Equity
        Preferred Stock                                $     4,000,000.00
        Common Stock                                   $    29,346,763.78
        Retained Earnings                              $   (22,274,735.68)
        Net Income                                     $       546,863.35
        Total Stockholder Equity                       $    11,618,891.45

        Total Liabilities + Stockholders' Equity       $   97,282,912.92
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                                                    T     STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                          Page:                                  1 of 3
   PAYROLL ACCOUNT                                        Statement Period:    Jun 01 2021-Jun 30 2021
   96 WYTHE AVE                                           Cust Ref #:            4380021603-719-T-###
   BROOKLYN NY 11249                                      Primary Account #:              438-0021603




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                         Account # 438-0021603
PAYROLL ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     6,214.28                  Average Collected Balance           19,755.38
Electronic Deposits                 644,789.78                  Interest Earned This Period              0.00
                                                                Interest Paid Year-to-Date               0.00
Electronic Payments                 640,753.08                  Annual Percentage Yield Earned         0.00%
Ending Balance                       10,250.98                  Days in Period                             30




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                          AMOUNT
06/02            CCD DEPOSIT, PAYCHEX INC. PAYROLL 8jURg6WiEfWNewv                                     473.66
06/04            eTransfer Credit, Online Xfer                                                     130,576.17
                      Transfer from CK 4384910935
06/08            CCD DEPOSIT, PAYCHEX INC. PAYROLL byIrpS3OiJpleCH                                     947.93
06/08            CCD DEPOSIT, PAYCHEX INC. PAYROLL yo3oXJSWv8MlNhy                                     636.17
06/11            eTransfer Credit, Online Xfer                                                     163,511.31
                      Transfer from CK 4384910935
06/17            eTransfer Credit, Online Xfer                                                     167,884.98
                      Transfer from CK 4384910935
06/24            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 93043400001638X                                      302.97
06/24            eTransfer Credit, Online Xfer                                                     178,988.06
                      Transfer from CK 4384910935
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008344X                                             414.54
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008342X                                             392.10
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008341X                                             342.33
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008343X                                             319.56
                                                                               Subtotal:           644,789.78
Electronic Payments
POSTING DATE     DESCRIPTION                                                                          AMOUNT
06/01            CCD DEBIT, PAYCHEX EIB INVOICE X92697000047579                                        627.28
06/04            CCD DEBIT, PAYCHEX - RCX PAYROLL 92774400001111X                                   92,067.10
06/04            CCD DEBIT, PAYCHEX TPS TAXES 92772800004231X                                       37,509.07
06/07            CCD DEBIT, PAYCHEX EIB INVOICE X92779400020453                                        710.95
06/11            CCD DEBIT, PAYCHEX PAYROLL 92871800001967X                                        113,582.28
06/11            CCD DEBIT, PAYCHEX TPS TAXES 92869200001615X                                       48,929.03
06/11            CCD DEBIT, PAYCHEX-HRS HRS PMT 37560072                                               318.85
06/14            CCD DEBIT, PAYCHEX EIB INVOICE X92872900003157                                        711.21
06/18            CCD DEBIT, PAYCHEX - RCX PAYROLL 92966100001658X                                  116,310.52

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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         10,250.98
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                      STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
   PAYROLL ACCOUNT                                    Page:                                  3 of 3
                                                      Statement Period:    Jun 01 2021-Jun 30 2021
                                                      Cust Ref #:            4380021603-719-T-###
                                                      Primary Account #:              438-0021603




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/18           CCD DEBIT, PAYCHEX TPS TAXES 92961900004895X                                    50,574.46
06/21           CCD DEBIT, PAYCHEX EIB INVOICE X92967700016330                                     673.59
06/25           CCD DEBIT, PAYCHEX PAYROLL 93058800001143X                                     125,372.60
06/25           CCD DEBIT, PAYCHEX TPS TAXES 93060700001672X                                    52,615.46
06/28           CCD DEBIT, PAYCHEX EIB INVOICE X93061700019350                                     750.68
                                                                           Subtotal:           640,753.08


DAILY BALANCE SUMMARY
DATE                              BALANCE                   DATE                                 BALANCE
05/31                             6,214.28                  06/14                               7,903.75
06/01                             5,587.00                  06/17                             175,788.73
06/02                             6,060.66                  06/18                               8,903.75
06/04                             7,060.66                  06/21                               8,230.16
06/07                             6,349.71                  06/24                             187,521.19
06/08                             7,933.81                  06/25                               9,533.13
06/11                             8,614.96                  06/28                              10,250.98




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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   96 WYTHE AVE                                           Statement Period:    Jun 01 2021-Jun 30 2021
   BROOKLYN NY 11249                                      Cust Ref #:            4380021611-717-T-###
                                                          Primary Account #:              438-0021611




TD Business Convenience Plus
THE WILLIAMSBURG HOTEL BK LLC                                                         Account # 438-0021611


ACCOUNT SUMMARY
Beginning Balance                   170,888.94                  Average Collected Balance          174,926.82
Electronic Deposits                 137,351.26                  Interest Earned This Period              0.00
                                                                Interest Paid Year-to-Date               0.00
Electronic Payments                 207,648.35                  Annual Percentage Yield Earned         0.00%
Service Charges                           3.00                  Days in Period                             30
Ending Balance                      100,588.85




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                         AMOUNT
06/15             eTransfer Credit, Online Xfer                                                    137,351.26
                      Transfer from CK 4384910935

                                                                               Subtotal:           137,351.26
Electronic Payments
POSTING DATE      DESCRIPTION                                                                         AMOUNT
06/21             CCD DEBIT, NYS DTF SALES TAX PAYMNT 000000071311931                              207,648.35
                                                                               Subtotal:           207,648.35
Service Charges
POSTING DATE      DESCRIPTION                                                                         AMOUNT
06/30             PAPER STATEMENT FEE                                                                     3.00
                                                                               Subtotal:                  3.00


DAILY BALANCE SUMMARY
DATE                                  BALANCE                   DATE                                 BALANCE
05/31                               170,888.94                  06/21                             100,591.85
06/15                               308,240.20                  06/30                             100,588.85




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       100,588.85
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                 T     STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                              Statement Period:    Jun 01 2021-Jun 30 2021
   DIP CASE 21-22108 SDNY                              Cust Ref #:            4384910927-039-T-###
   3284 N 29TH CT                                      Primary Account #:              438-4910927
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                       Account # 438-4910927
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108 SDNY


ACCOUNT SUMMARY
Beginning Balance                 58,810.19                  Average Collected Balance           58,810.19
                                                             Interest Earned This Period              0.00
Ending Balance                    58,810.19                  Interest Paid Year-to-Date               0.00
                                                             Annual Percentage Yield Earned         0.00%
                                                             Days in Period                             30


DAILY ACCOUNT ACTIVITY
No Transactions this Statement Period




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-rdd                         83
                                     Doc 72                    08/11/21 Entered 07/21/21
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         58,810.19
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                 T     STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                              Statement Period:    Jun 01 2021-Jun 30 2021
   DIP CASE 21-22108-RRD SDNY                          Cust Ref #:            4384910935-039-T-###
   3284 N 29TH CT                                      Primary Account #:              438-4910935
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                       Account # 438-4910935
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108-RRD SDNY


ACCOUNT SUMMARY
Beginning Balance                399,494.91                  Average Collected Balance          833,020.35
Electronic Deposits            2,476,172.05                  Interest Earned This Period              0.00
Other Credits                      3,877.72                  Interest Paid Year-to-Date               0.00
                                                             Annual Percentage Yield Earned         0.00%
Electronic Payments            1,588,435.41                  Days in Period                             30
Ending Balance                 1,291,109.27




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                       AMOUNT
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               43,580.87
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               39,140.71
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               30,933.89
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               27,202.98
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               26,412.42
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               22,409.91
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               12,036.65
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                2,557.67
06/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               54,764.71
06/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                8,422.40
06/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               57,413.86
06/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               21,746.28
06/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               30,047.21
06/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                1,089.58
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               43,741.40
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               35,260.27
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               28,598.91
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               26,697.23
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               14,982.08
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                7,923.45
06/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               62,464.10
06/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               36,712.91
06/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               71,470.82
06/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               23,266.61
06/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               64,865.17


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    How to Balance your Account                                                                                                               Page:                                   2 of 6

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,291,109.27
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
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    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
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                                                      Cust Ref #:            4384910935-039-T-###
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/10           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               21,680.62
06/11           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               26,439.29
06/11           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,764.35
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               67,167.39
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               40,957.00
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               37,695.14
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               37,251.04
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               24,972.14
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               17,205.27
06/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               80,706.93
06/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,436.04
06/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               52,565.95
06/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               21,391.58
06/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               37,553.97
06/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                2,548.08
06/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               39,350.90
06/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               22,399.34
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               62,657.19
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               50,786.45
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,154.15
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               38,449.99
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               16,873.67
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               15,097.95
06/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               47,358.48
06/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              115,916.14
06/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               62,323.25
06/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               50,258.49
06/24           CCD DEPOSIT, EVENTBRITE, INC. EDI PYMNTS *-***57009                              9,045.95
06/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                1,724.75
06/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               77,187.20
06/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                6,249.21
06/25           ACH DEPOSIT, SQUARE INC SDV-VRFY T****79745961                                       0.01
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               52,717.07
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               52,687.28
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,853.42
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               40,730.03
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               26,756.66
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               17,403.89
06/28           ACH DEPOSIT, PULSD INC. BILL PMT ****910935                                      6,528.20


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   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Jun 01 2021-Jun 30 2021
                                                      Cust Ref #:            4384910935-039-T-###
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/28           ACH DEPOSIT, SQUARE INC 210628P2 L****36490666                                     952.75
06/28           ACH DEPOSIT, SQUARE INC 210628P2 L****36490667                                      85.69
06/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               69,039.33
06/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               51,035.85
06/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               69,824.05
06/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               67,647.83
                                                                           Subtotal:         2,476,172.05
Other Credits
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/07           WIRE TRANSFER INCOMING, WARDROBE TECHNOLOGIES INC. DBA                           2,486.62
06/14           WIRE TRANSFER INCOMING, GREEN SKY LABS INC 101 2275 U                            1,391.10
                                                                           Subtotal:             3,877.72
Electronic Payments
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/01           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  40.52
06/01           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                  38.11
06/02           eTransfer Debit, Online Xfer                                                    24,410.03
                  Transfer to CK 4380021596
06/02           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 182.11
06/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****01938889                               22,293.17
06/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                                8,328.11
06/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****01938889                                 1,677.04
06/03           CCD DEBIT, FISERV MERCHANT FEE ****01938889                                        841.85
06/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                   691.47
06/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                        485.67
06/03           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  39.20
06/04           eTransfer Debit, Online Xfer                                                   130,576.17
                  Transfer to CK 4380021603
06/04           eTransfer Debit, Online Xfer                                                    43,937.87
                  Transfer to CK 4380021596
06/07           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 215.60
06/08           eTransfer Debit, Online Xfer                                                    69,331.73
                  Transfer to CK 4380021596
06/09           ELECTRONIC PMT-WEB, FIRST INSURANCE INSURANCE ***-*3537124                      18,495.84
06/09           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 351.13
06/10           eTransfer Debit, Online Xfer                                                    46,869.25
                  Transfer to CK 4380021596
06/10           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.80
06/11           eTransfer Debit, Online Xfer                                                   163,511.31
                  Transfer to CK 4380021603

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   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Jun 01 2021-Jun 30 2021
                                                      Cust Ref #:            4384910935-039-T-###
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/11           eTransfer Debit, Online Xfer                                                     9,133.64
                 Transfer to CK 4380021596
06/14           eTransfer Debit, Online Xfer                                                    22,152.44
                 Transfer to CK 4380021596
06/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 129.99
06/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                  33.76
06/15           eTransfer Debit, Online Xfer                                                   137,351.26
                 Transfer to CK 4380021611
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002602008                               25,925.81
06/15           eTransfer Debit, Online Xfer                                                    12,709.41
                 Transfer to CK 4380021596
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002608005                                3,235.00
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002609003                                2,985.05
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002604004                                  736.08
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002606009                                  728.17
06/16           eTransfer Debit, Online Xfer                                                    34,157.08
                 Transfer to CK 4380021596
06/16           eTransfer Debit, Online Xfer                                                    30,738.27
                 Transfer to CK 4380021596
06/17           eTransfer Debit, Online Xfer                                                   167,884.98
                 Transfer to CK 4380021603
06/17           eTransfer Debit, Online Xfer                                                    41,935.62
                 Transfer to CK 4380021596
06/17           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 103.08
06/17           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.44
06/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                  62.08
06/21           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 150.00
06/22           eTransfer Debit, Online Xfer                                                    43,251.86
                 Transfer to CK 4380021596
06/22           eTransfer Debit, Online Xfer                                                    21,628.79
                 Transfer to CK 4380021596
06/22           eTransfer Debit, Online Xfer                                                    21,404.40
                 Transfer to CK 4380021596
06/23           eTransfer Debit, Online Xfer                                                    51,323.11
                 Transfer to CK 4380021596
06/23           eTransfer Debit, Online Xfer                                                     7,802.41
                 Transfer to CK 4380021596
06/23           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 282.44
06/24           eTransfer Debit, Online Xfer                                                   178,988.06
                 Transfer to CK 4380021603
06/25           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                    164.25
06/25           ELECTRONIC PMT-WEB, SQUARE INC SDV-VRFY T****79745962                                   0.01


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                                                      STATEMENT OF ACCOUNT


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   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Jun 01 2021-Jun 30 2021
                                                      Cust Ref #:            4384910935-039-T-###
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/28           eTransfer Debit, Online Xfer                                                    48,447.38
                 Transfer to CK 4380021596
06/28           eTransfer Debit, Online Xfer                                                    46,744.23
                 Transfer to CK 4380021596
06/28           eTransfer Debit, Online Xfer                                                    27,048.48
                 Transfer to CK 4380021596
06/28           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 343.91
06/29           eTransfer Debit, Online Xfer                                                    82,176.55
                 Transfer to CK 4380021596
06/29           eTransfer Debit, Online Xfer                                                    36,124.13
                 Transfer to CK 4380021596
06/30           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                    236.26
                                                                           Subtotal:         1,588,435.41


DAILY BALANCE SUMMARY
DATE                               BALANCE                  DATE                                 BALANCE
05/31                           399,494.91                  06/16                             863,014.52
06/01                           603,691.38                  06/17                             693,192.45
06/02                           642,286.35                  06/18                             754,880.61
06/03                           687,089.98                  06/21                             984,750.01
06/04                           543,712.73                  06/22                             945,823.44
06/07                           703,187.09                  06/23                           1,064,654.87
06/08                           733,032.37                  06/24                             946,696.00
06/09                           808,922.83                  06/25                           1,029,968.16
06/10                           848,598.57                  06/28                           1,152,099.15
06/11                           706,157.26                  06/29                           1,153,873.65
06/14                           910,480.15                  06/30                           1,291,109.27
06/15                           853,952.34




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   THE WILLIAMSBURG HOTEL BK LLC                          Page:                                 1 of 10
   96 WYTHE AVE                                           Statement Period:    Jun 01 2021-Jun 30 2021
   BROOKLYN NY 11249                                      Cust Ref #:            4380021596-719-T-###
                                                          Primary Account #:              438-0021596




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                         Account # 438-0021596


ACCOUNT SUMMARY
Beginning Balance                    74,829.60                  Average Collected Balance           51,661.35
Electronic Deposits                 724,624.95                  Interest Earned This Period              0.00
Other Credits                        20,056.89                  Interest Paid Year-to-Date               0.00
                                                                Annual Percentage Yield Earned         0.00%
Checks Paid                         325,470.69                  Days in Period                             30
Electronic Payments                 274,326.29
Other Withdrawals                    54,448.64
Ending Balance                      165,265.82



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                          AMOUNT
06/02            eTransfer Credit, Online Xfer                                                      24,410.03
                      Transfer from CK 4384910935
06/04            eTransfer Credit, Online Xfer                                                      43,937.87
                      Transfer from CK 4384910935
06/08            ACH RETURNED ITEM, ALL BORO CONSULT SALE                                            1,700.00
06/08            ACH RETURNED ITEM, AMEX EPAYMENT ACH PMT W8612                                      1,112.55
06/08            ACH RETURNED ITEM, NATIONAL GRID NY UTILITYPAY 00021011451                            485.72
06/08            eTransfer Credit, Online Xfer                                                      69,331.73
                      Transfer from CK 4384910935
06/10            eTransfer Credit, Online Xfer                                                      46,869.25
                      Transfer from CK 4384910935
06/11            eTransfer Credit, Online Xfer                                                       9,133.64
                      Transfer from CK 4384910935
06/14            eTransfer Credit, Online Xfer                                                      22,152.44
                      Transfer from CK 4384910935
06/15            eTransfer Credit, Online Xfer                                                      12,709.41
                      Transfer from CK 4384910935
06/16            eTransfer Credit, Online Xfer                                                      34,157.08
                      Transfer from CK 4384910935
06/16            eTransfer Credit, Online Xfer                                                      30,738.27
                      Transfer from CK 4384910935
06/17            eTransfer Credit, Online Xfer                                                      41,935.62
                      Transfer from CK 4384910935
06/22            eTransfer Credit, Online Xfer                                                      43,251.86
                      Transfer from CK 4384910935
06/22            eTransfer Credit, Online Xfer                                                      21,628.79
                      Transfer from CK 4384910935



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    How to Balance your Account                                                                                                               Page:                                2 of 10

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       165,265.82
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                              STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
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                                                                              Statement Period:              Jun 01 2021-Jun 30 2021
                                                                              Cust Ref #:                      4380021596-719-T-###
                                                                              Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE     DESCRIPTION                                                                                                                     AMOUNT
06/22            eTransfer Credit, Online Xfer                                                                                             21,404.40
                   Transfer from CK 4384910935
06/23            eTransfer Credit, Online Xfer                                                                                             51,323.11
                   Transfer from CK 4384910935
06/23            eTransfer Credit, Online Xfer                                                                                               7,802.41
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                             48,447.38
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                             46,744.23
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                             27,048.48
                   Transfer from CK 4384910935
06/29            eTransfer Credit, Online Xfer                                                                                             82,176.55
                   Transfer from CK 4384910935
06/29            eTransfer Credit, Online Xfer                                                                                             36,124.13
                   Transfer from CK 4384910935

                                                                                                              Subtotal:                  724,624.95
Other Credits
POSTING DATE     DESCRIPTION                                                                                                                     AMOUNT
06/08            RETURNED ITEM                                                                                                               3,498.48
06/08            RETURNED ITEM                                                                                                               3,300.00
06/08            RETURNED ITEM                                                                                                               2,344.24
06/08            RETURNED ITEM                                                                                                               2,193.41
06/08            RETURNED ITEM                                                                                                               2,100.00
06/08            RETURNED ITEM                                                                                                               1,923.00
06/08            RETURNED ITEM                                                                                                               1,575.00
06/08            RETURNED ITEM                                                                                                                 700.00
06/08            RETURNED ITEM                                                                                                                 632.47
06/08            RETURNED ITEM                                                                                                                 621.39
06/08            RETURNED ITEM                                                                                                                 400.00
06/08            RETURNED ITEM                                                                                                                 290.80
06/08            RETURNED ITEM                                                                                                                 278.10
06/08            RETURNED ITEM                                                                                                                 200.00
                                                                                                              Subtotal:                    20,056.89
Checks Paid      No. Checks: 186    *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                   AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/02            1027                        477.96                                  06/14                     1078*                             735.41
06/01            1038*                         56.70                                 06/02                     1084*                             955.92
06/28            1046*                    1,260.00                                   06/01                     1098*                         3,260.25
06/14            1047                        903.23                                  06/03                     1103*                              40.00

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                                                                      Cust Ref #:                      4380021596-719-T-###
                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/04          1104                    80.00                                 06/09                     1191                              649.00
06/07          1108*                 632.47                                  06/11                     1192                          2,100.00
06/07          1109                  621.39                                  06/08                     1193                              800.00
06/07          1111*              7,805.47                                   06/07                     1194                          2,344.24
06/17          1113*                 429.33                                  06/07                     1195                          7,665.61
06/22          1149*              1,466.07                                   06/02                     1196                              871.00
06/01          1150                  646.72                                  06/07                     1197                              400.00
06/24          1154*                 225.62                                  06/07                     1198                          7,068.91
06/03          1155               4,000.00                                   06/02                     1200*                             495.74
06/03          1157*              2,931.00                                   06/01                     1202*                         1,923.00
06/02          1159*              1,700.00                                   06/01                     1203                              550.40
06/18          1160                  500.00                                  06/01                     1204                          4,668.02
06/01          1162*                 708.00                                  06/14                     1205                              550.00
06/03          1164*                 672.20                                  06/07                     1208*                         3,498.48
06/01          1168*              5,000.00                                   06/14                     1209                          1,900.00
06/01          1170*                 400.00                                  06/25                     1211*                         4,278.19
06/01          1171                  400.00                                  06/09                     1212                          3,631.02
06/04          1172                  300.00                                  06/04                     1213                          1,485.04
06/02          1173                  600.00                                  06/07                     1214                              200.00
06/04          1174               1,994.39                                   06/07                     1215                              700.00
06/11          1175               4,339.34                                   06/07                     1216                          1,575.00
06/07          1176               2,193.41                                   06/09                     1217                              600.00
06/14          1177                  979.88                                  06/14                     1218                              500.00
06/04          1178               2,159.32                                   06/04                     1219                          2,500.00
06/03          1179               2,186.75                                   06/07                     1220                          4,668.01
06/04          1180               2,068.62                                   06/08                     1221                              435.12
06/07          1181               5,852.03                                   06/07                     1222                          2,100.00
06/08          1183*                 519.68                                  06/09                     1223                          1,069.44
06/03          1184                    38.40                                 06/10                     1224                          1,000.00
06/07          1185                  290.80                                  06/11                     1226*                         7,005.82
06/16          1187*              1,911.84                                   06/07                     1228*                         3,300.00
06/04          1188                  367.52                                  06/09                     1229                          3,516.71
06/03          1189               2,501.10                                   06/10                     1230                          2,177.46
06/04          1190               1,246.66                                   06/07                     1231                          1,923.00


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                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/15          1232               1,976.56                                   06/15                     1269                              758.68
06/09          1233                  228.40                                  06/15                     1270                              604.66
06/07          1234                  278.10                                  06/11                     1271                              742.36
06/09          1235                  528.03                                  06/15                     1272                              338.29
06/14          1236                  400.00                                  06/14                     1273                          1,282.00
06/11          1237                  500.00                                  06/22                     1274                              355.72
06/14          1238                  100.00                                  06/14                     1275                              207.17
06/15          1239                  472.00                                  06/17                     1276                          1,200.35
06/09          1242*                 851.18                                  06/23                     1277                          4,690.74
06/14          1243                  871.00                                  06/14                     1279*                             450.00
06/15          1244                  400.00                                  06/25                     1280                          1,125.00
06/10          1245               2,473.08                                   06/16                     1281                              400.00
06/14          1246                  189.61                                  06/28                     1282                              400.00
06/14          1247                  200.00                                  06/15                     1283                          4,684.72
06/09          1248                  800.00                                  06/15                     1284                              392.20
06/18          1249                  500.00                                  06/22                     1285                              767.00
06/11          1250                  500.00                                  06/15                     1286                          4,158.65
06/21          1251                  909.83                                  06/22                     1287                          1,900.00
06/11          1253*                 632.47                                  06/22                     1288                          8,215.20
06/11          1254                  621.39                                  06/18                     1290*                             972.00
06/15          1255                  290.80                                  06/23                     1292*                         3,568.06
06/15          1256                  400.00                                  06/18                     1293                          2,895.25
06/15          1257               2,193.41                                   06/21                     1294                          3,227.58
06/21          1258               2,344.24                                   06/18                     1295                          5,000.00
06/14          1259               3,498.48                                   06/22                     1296                          1,968.27
06/14          1260                  200.00                                  06/18                     1297                          8,937.64
06/18          1261                  700.00                                  06/22                     1298                          2,687.49
06/11          1262               1,575.00                                   06/21                     1299                          2,186.75
06/16          1263               2,100.00                                   06/21                     1300                          1,754.40
06/11          1264               3,320.00                                   06/23                     1302*                         4,317.39
06/11          1265                  278.10                                  06/23                     1303                              468.16
06/14          1266               1,923.00                                   06/21                     1305*                             947.93
06/11          1267                  684.00                                  06/21                     1306                              473.66
06/11          1268               5,500.00                                   06/21                     1307                              636.17


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                                                                         Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)        *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.               AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/28           1308                    590.00                                  06/28                     1345*                             750.00
06/23           1309                 1,015.80                                   06/28                     1346                              800.00
06/25           1310                    999.00                                  06/28                     1347                          1,000.00
06/23           1311                 5,399.13                                   06/22                     1351*                         1,780.11
06/25           1312                    907.29                                  06/16                     1352                          6,000.00
06/24           1313                 7,005.82                                   06/23                     1354*                             250.00
06/18           1314                    992.59                                  06/29                     1356*                             303.85
06/21           1315                 1,923.00                                   06/22                     1357                          1,135.00
06/21           1316                    356.80                                  06/25                     1358                              396.00
06/28           1317                    644.72                                  06/22                     1359                              235.00
06/21           1318                    800.00                                  06/22                     1360                               55.00
06/28           1319                    150.00                                  06/22                     1361                              675.95
06/22           1320                    300.00                                  06/25                     1366*                         1,500.00
06/28           1322*                   350.00                                  06/28                     1367                          2,351.70
06/23           1323                    600.00                                  06/28                     1369*                         2,414.53
06/25           1325*                3,264.99                                   06/30                     1372*                         1,080.00
06/25           1326                 5,484.84                                   06/30                     1373                          1,600.00
06/24           1330*                2,624.50                                   06/30                     1382*                             871.00
06/29           1331                 2,805.42                                   06/30                     1392*                         3,243.26
06/25           1342*                6,000.00                                   06/30                     1404*                             508.38
06/29           1343                 1,050.00                                   06/04                     3186*                             498.15
                                                                                                         Subtotal:                  325,470.69
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                 AMOUNT
06/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   7,549.39
06/01           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                                                                  6,372.50
06/01           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                                                           1,000.00
06/01           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                                                           1,000.00
06/01           CCD DEBIT, AMEX EPAYMENT ACH PMT W6866                                                                                   812.54
06/02           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000667268                                                                    14,057.85
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   3,782.75
06/02           CCD DEBIT, EMPIRE BLUE INDIVIDUAL 7113924                                                                              2,214.48
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   1,620.09
06/02           CCD DEBIT, ASCENTIUMCAPITAL LEASECHG 173752                                                                            1,249.32
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   1,029.93
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                     326.49

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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                      Cust Ref #:            4380021596-719-T-###
                                                      Primary Account #:              438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/02           CCD DEBIT, MERCHANT SERVICE MERCH FEE 8079292879                                   287.52
06/02           ELECTRONIC PMT-WEB, VERIZON PAYMENTREC 2515388510001                               199.20
06/03           CCD DEBIT, AMEX EPAYMENT ACH PMT W4876                                           1,668.69
06/04           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,309.48
06/04           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000121161                                 787.30
06/04           CCD DEBIT, PHASE THREE CAPI SIGONFILE PZVGJG                                       535.93
06/07           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             4,607.60
06/07           DEBIT CARD PURCHASE, AUT 060421 VISA DDA PUR                                     2,808.95
                 WF WAYFAIR 3560111651    HTTPSWWW WAYF * MA
                 4085404027733868
06/07           CCD DEBIT, ALL BORO CONSULT SALE                                                 1,700.00
06/07           CCD DEBIT, AMEX EPAYMENT ACH PMT W8612                                           1,112.55
06/07           CCD DEBIT, NATIONAL GRID NY UTILITYPAY 00021011451                                 485.72
06/08           CTX DEBIT, UNITED HEALTHCAR EDI PAYMTS 636325762788                              5,396.28
06/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,615.05
06/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,319.30
06/08           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7325427                             826.77
06/08           CCD DEBIT, AMEX EPAYMENT ACH PMT W0166                                             576.88
06/09           ACH DEBIT, CLEANSLATE PURCHASE                                                   1,193.03
06/09           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                     1,000.00
06/09           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                     1,000.00
06/10           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000122319                               2,035.90
06/10           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 6483310                           1,382.48
06/10           CCD DEBIT, AMEX EPAYMENT RETRY PYMT W8612                                        1,112.55
06/11           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                     4,600.49
06/11           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000670027                               3,566.00
06/11           CCD DEBIT, AMEX EPAYMENT ACH PMT W5740                                           2,406.59
06/11           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                     2,356.68
06/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               339.88
06/14           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000670496                              14,624.22
06/14           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             6,152.41
06/14           CCD DEBIT, WESTGUARD INS CO INS PREM WIWC291833                                  1,375.81
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,575.30
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,493.67
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               925.92
06/16           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000671157                                 427.96
06/17           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                     3,775.90
06/17           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7721975                           3,217.09
06/17           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000123466                               2,544.90
06/17           CCD DEBIT, DAVID BOWLER LLC CORP COLL THE WILLIAMSBUR                              306.00

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                                                        Primary Account #:              438-0021596




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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                         AMOUNT
06/18           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               3,983.87
06/18           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                              2,915.58
06/18           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000671776                                   264.00
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002605001                                     32.73
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002607007                                     32.73
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002603006                                     32.73
06/21           CCD DEBIT, EXPEDIA, INC. 10074865_9 127000491943                                  11,911.64
06/21           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               4,580.34
06/21           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                       2,000.00
06/21           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                       2,000.00
06/21           CCD DEBIT, INTUIT QUICKBOOKS 3635696                                                 383.24
06/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672382                                21,404.40
06/22           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                       5,552.86
06/22           CCD DEBIT, AMEX EPAYMENT ACH PMT W8956                                             2,214.78
06/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672444                                 1,678.00
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               1,350.56
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               1,262.49
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               1,012.27
06/22           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7472364                               902.68
06/22           CCD DEBIT, ALLIANCE ACHDEBITS 000102316653001                                        324.85
06/23           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672857                                 6,930.61
06/23           DEBIT CARD PURCHASE, AUT 062121 VISA DDA PUR                                       2,740.35
                 MICROSOFT STORE         800 6427676 * WA
                 4085404027733868
06/23           CCD DEBIT, MICROS RETAIL SY ACH DEBIT 5292489706                                     994.99
06/24           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                       7,802.41
06/24           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000124756                                 1,683.00
06/24           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 8691031                             1,166.76
06/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               4,445.46
06/25           ELECTRONIC PMT-WEB, NYSIF WEB_PAY 00430616062421                                   3,085.26
06/25           CCD DEBIT, AMEX EPAYMENT ACH PMT W1884                                               967.41
06/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                 648.05
06/28           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                               4,834.92
06/28           ELECTRONIC PMT-WEB, TRIPADVISOR ADVERTSING 7420699                                   788.33
06/28           DEBIT CARD PURCHASE, AUT 062421 VISA DDA PUR                                         734.91
                 PAYPAL PRNTONBROAD        402 935 7733 * NY
                 4085404027733868
06/29           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000674177                                23,281.20
06/29           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 4620133                             8,930.91
06/29           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000125733                                 3,200.00


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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/29           CCD DEBIT, AMEX EPAYMENT ACH PMT W2710                                           2,788.72
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,952.59
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,554.30
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                             1,182.14
06/30           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                            5,356.46
06/30           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 3695900                           1,298.82
06/30           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 3696027                             453.60
                                                                           Subtotal:           274,326.29
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/02           WIRE TRANSFER OUTGOING, Mint Development Corp                                    3,275.00
06/02           WIRE TRANSFER OUTGOING, Janover LLC                                              1,337.94
06/02           WIRE TRANSFER FEE                                                                   30.00
06/02           WIRE TRANSFER FEE                                                                   30.00
06/04           WIRE TRANSFER OUTGOING, Aplbc Ltd                                                5,200.00
06/04           WIRE TRANSFER OUTGOING, Mint Development Corp                                    3,537.50
06/04           WIRE TRANSFER FEE                                                                   50.00
06/04           WIRE TRANSFER FEE                                                                   30.00
06/08           OVERDRAFT RET                                                                      105.00
06/08           OVERDRAFT PD                                                                        70.00
06/08           STOP PAYMENT CHG(S), STOP ITEM                                                      30.00
06/10           WIRE TRANSFER OUTGOING, Mint Development Corp                                    3,515.00
06/10           WIRE TRANSFER FEE                                                                   30.00
06/11           WIRE TRANSFER OUTGOING, Ralph Ervin                                                232.99
06/11           WIRE TRANSFER FEE                                                                   30.00
06/17           WIRE TRANSFER OUTGOING, Sure Rifka Buls                                          1,500.00
06/17           WIRE TRANSFER OUTGOING, Good Design                                                160.00
06/17           WIRE TRANSFER FEE                                                                   50.00
06/17           WIRE TRANSFER FEE                                                                   50.00
06/18           WIRE TRANSFER OUTGOING, Mint Development Corp                                    3,515.00
06/18           WIRE TRANSFER FEE                                                                   30.00
06/22           WIRE TRANSFER OUTGOING, HA Clarke, LLC                                           8,071.25
06/22           WIRE TRANSFER FEE                                                                   30.00
06/23           WIRE TRANSFER OUTGOING, Kassatex Inc.                                            9,989.46
06/23           WIRE TRANSFER OUTGOING, T-Y Group, LLC                                           3,730.85
06/23           WIRE TRANSFER FEE                                                                   30.00
06/23           WIRE TRANSFER FEE                                                                   30.00
06/25           WIRE TRANSFER OUTGOING, Mint Development Corp                                    3,575.00
06/25           WIRE TRANSFER FEE                                                                   30.00

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DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
06/29           WIRE TRANSFER OUTGOING, Mint Development Corp                                      760.00
06/29           WIRE TRANSFER OUTGOING, Luxury GS LLC                                              672.20
06/29           WIRE TRANSFER FEE                                                                   30.00
06/29           WIRE TRANSFER FEE                                                                   30.00
06/30           WIRE TRANSFER OUTGOING, Onyx Centersource AS                                     4,601.45
06/30           STOP PAYMENT CHG(S), STOP ITEM                                                      30.00
06/30           WIRE TRANSFER FEE                                                                   30.00
                                                                           Subtotal:            54,448.64


DAILY BALANCE SUMMARY
DATE                             BALANCE                    DATE                                 BALANCE
05/31                            74,829.60                  06/16                              70,350.63
06/01                            40,482.08                  06/17                              99,052.68
06/02                            30,350.92                  06/18                              67,748.56
06/03                            16,312.78                  06/21                              31,312.98
06/04                            36,100.74                  06/22                              52,253.08
06/07                           -27,731.00                  06/23                              66,623.06
06/08                            53,261.81                  06/24                              46,114.95
06/09                            38,195.00                  06/25                               9,408.46
06/10                            71,337.78                  06/28                             114,579.44
06/11                            39,140.31                  06/29                             184,338.79
06/14                            24,250.53                  06/30                             165,265.82
06/15                            16,295.08




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